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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


Eaton Corporation,                                )   CASE NO.: 1:20-CV-893
                                                  )
                       Plaintiff,                 )   JUDGE:
                                                  )
       vs.                                        )
                                                  )   COMPLAINT
Angstrom Automotive Group, LLC and                )
Wrena, LLC,                                       )
                                                  )
                       Defendants.                )   JURY TRIAL DEMANDED




       Plaintiff Eaton Corporation (“Eaton”), for its Complaint against Angstrom Automotive

Group, LLC (“Angstrom”) and Wrena, LLC (“Wrena”) (collectively, “Defendants”), states as

follows:

                                       INTRODUCTION

       1.      To maximize their own profits, Defendants ignored their contractual obligations by

manufacturing and supplying defective metal levers—critical components in Eaton’s automated

electric clutch actuation clutches, which are used in the transmissions of large commercial

vehicles.

       2.      Eaton repeatedly and explicitly informed Defendants in contracts, drawings,

written specifications, computer models, and other communications that a critical bend in the lever

must be “full round”; that is, it needed to be circular and avoid any sharp corners or jagged edges.

Only levers with a “full round” bend could withstand the forces necessary to shift gears without

breaking. Defendants understood the importance of the “full round” directive: for years, they

supplied levers with the requisite shape that functioned properly.
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        3.        Defendants altered their maintenance procedures, which resulted in levers

containing numerous sharp edges resembling microscopic mountain ranges within the area that

was required to be “full round”. These edges became focal points for the powerful forces acting

on the levers during their operation. Defendants’ decision to cut corners caused Eaton’s clutches

to fail in the field when the defective levers snapped from fatigue because they did not meet

specifications.

        4.        As a result, Eaton incurred significant expenses totaling tens of millions of dollars

addressing warranty claims and conducting a field service campaign to repair and replace clutches.

        5.        Eaton brings claims against Defendants for breach of the governing Master

Purchase Agreement (“MPA”) and Purchase Orders (“POs”). Eaton also asserts claims for breach

of express warranty, breach of the implied warranty of merchantability, and breach of the implied

warranty of fitness for a particular purpose. Eaton seeks compensatory damages (including

consequential damages), costs, and attorneys’ fees in an amount to be proven at trial.

                                               PARTIES

        6.        Eaton is incorporated in the State of Ohio and its principal place of business is in

Ohio.

        7.        Angstrom is a Michigan limited liability company and its principal place of

business is located at 26980 Trolley Industrial Drive, Taylor, Michigan, 48180. Upon information

and belief, Angstrom’s members are citizens of Michigan and not citizens of Ohio.

        8.        Angstrom supplies numerous parts and components to original equipment

manufacturers (“OEMs”) and Tier 1 suppliers in the automotive and trucking industries. Angstrom

was founded in 1999 by an experienced automotive engineer who had previously spent a decade

as an engineer for large automotive companies. Angstrom is a vertically integrated supplier of

automotive and trucking products with multiple locations across the United States and a broad
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range of capabilities through individual business units, including Defendant Wrena. In addition to

manufacturing, Angstrom and its business units provide project management, prototyping, and

engineering services facilitated by their experienced technical experts.

        9.      Wrena is a Michigan limited liability company. It operates a manufacturing facility

at 265 Lightner Rd, Tipp City, OH 45371. Upon information and belief, Angstrom is Wrena’s

sole member. Wrena is one of Angstrom’s business units and was acquired by Angstrom in 2011.

Wrena specializes in manufacturing structural stampings, heavy truck parts, plastic insert molds,

fabricated assemblies, welded assemblies, and clutch assemblies for the automotive and trucking

industries. Wrena supplies metal stampings to dozens of customers in the automotive and trucking

industries from its 110,000-square-foot manufacturing facility.

                                  JURISDICTION AND VENUE

        10.     This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 because the parties are diverse and the amount in controversy exceeds $75,000, exclusive

of interest and costs. Eaton is a citizen of Ohio, and, upon information and belief, Defendants are

citizens of Michigan.

        11.     Angstrom regularly conducts business with customers and affiliates in Ohio by

selling products in Ohio to Ohio entities and by maintaining its affiliates’ facilities in the state.

        12.     Wrena conducts business in Ohio and manufactures products in the state.

        13.     Defendants knowingly subjected themselves to personal jurisdiction in Ohio by

executing the MPA and fulfilling POs with Ohio-based Eaton. The levers at issue in this case were

manufactured in Ohio. Further, the MPA contains a forum selection clause that provides that it

“is made under and shall be construed in accordance with the law and in the courts of the place

where Eaton has its principal place of business,” which is Ohio.



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            14.     Venue is appropriate in this District pursuant to 28 U.S.C. §§ 1391 and 1404(a)

     because Defendants have sufficient contacts to be subject to personal jurisdiction and a substantial

     amount of the activity giving rise to this matter took place in this District.

                                        FACTUAL BACKGROUND

I.          DEFENDANTS AGREE TO MANUFACTURE LEVERS FOR EATON’S ECA
            CLUTCHES.

            15.     Eaton is a global diversified intelligent power management and technology

     company that is a leading supplier of heavy- and medium-duty truck transmissions and clutches.

     Among other products, Eaton produces automated electric clutch actuation (“ECA”) clutches.

     ECA clutches are unique: they work with Eaton’s automated transmissions to actively, smoothly

     shift gears based on changing operating conditions and allow heavy- and medium-duty trucks to

     seamlessly start and stop by temporarily disconnecting the engine from the vehicle’s drive train.

     ECA clutches also allow disengagement from the transmission, which enables truck engines to run

     while the vehicle stands still. Eaton sells its ECA clutches to prominent OEMs.

            16.     Each ECA clutch contains six levers that work in unison to temporarily disconnect

     the engine from the drive train so the transmission can shift gears.

            17.     The levers in Eaton’s ECA clutches are metal tongues that are bent or “coined” to

     create a semi-cylindrical indentation referred to as a “hotdog.” “Coining” is a specific metal

     fabrication method in which the workpiece—in this case, a lever—is stamped between a punch

     and die. The punch is applied to the lever under high pressure to bend the lever and create an

     indentation which meshes with other parts of the ECA clutch.




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       18.      The shape of the lever—particularly the hotdog—is essential to its proper

functioning. To withstand the pressure imposed by the ECA clutch’s springs, the hotdog must be

round so the applied force is evenly distributed across its arched surface. Jagged edges, sharp

corners, or other irregularities within the hotdog act as “stress risers”—areas of concentrated

force—that can fracture part of the lever, leading to various mechanical problems, including

difficulty shifting gears, harsh gear engagement, clutch slippage, incomplete clutch departure, and

various fault codes and service lamp illuminations. Faulty levers can also damage other parts of

the ECA clutch, leading to other modes of failure.

       19.      To avoid these expensive failures, Eaton requires adherence to detailed

specifications, drawings, models, and approved samples.

             a. Angstrom Executes Master Purchase Agreement With Eaton.

       20.      Angstrom and Eaton executed the MPA effective August 30, 2016. (Attached

hereto as Ex. A.) The MPA provides that Angstrom will supply Eaton with clutch levers bearing

Part Number 173c147 at a price of $0.8363 per unit for a total estimated volume of 954,000 units.

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          21.   Under the MPA, Angstrom could perform its obligation to supply Eaton through an

affiliated business unit such as Wrena.

          22.   Angstrom exercised that option and Eaton’s POs were fulfilled by Wrena, which

manufactured levers at its Ohio facility.

          23.   The POs incorporated Eaton’s Terms and Conditions. (See Blanket PO 52689

attached hereto as Ex. B.)

          24.   The MPA incorporates Eaton’s General Terms and Conditions (“Terms and

Conditions”) by reference. (Ex. A, MPA § 1.3; the Terms and Conditions are attached hereto as

Ex. C.)

          25.   As such, Defendants were both subject to the Terms and Conditions through their

respective agreements with Eaton.

          26.   Neither the MPA nor the Terms and Conditions limit Eaton’s right to collect

damages.

          27.   Defendants warranted that the levers were safe and appropriate for use in the ECA

clutches:

                Seller warrants that:

                (a) The items:
                    (1) Are free from defects in material, workmanship and design,
                    (2) Are of merchantable quality and fit for Buyer's purposes,
                    (3) Conform with Buyer's instructions, specifications, drawings
                    and data, and
                    (4) Conform to all representations, affirmations, promises,
                    descriptions, samples, or models provided by Seller to Buyer.

(Ex. C, Terms and Conditions § 7.1.)

          28.   Eaton relied on these express warranties and expected Defendants to supply levers

that met specifications.



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          29.      None of Defendants’ express or implied warranties were disclaimed:

                   Seller’s warranties survive acceptance of the items. These
                   warranties are in addition to any warranties of additional scope
                   given by Seller to Buyer. None of these warranties and no implied
                   or express warranties are disclaimed or excluded unless evidenced
                   by a purchase order change notice or revision issued and signed by
                   Buyer.

(Ex. C, Terms and Conditions § 7.2.)

          30.      The Terms and Conditions also prohibit Defendants from altering the lever’s design

or the manufacturing process unless they obtained Eaton’s prior written approval: “All items are

to be completely interchangeable with like items purchased from Seller previously by Buyer or

Buyer’s customer. To this end, Seller must use the same designs, processes, or procedures used by

Seller in supplying like items previously. Seller may not make any change to any of its designs,

processes, or procedures without Buyer's prior written approval. If Seller does not comply with

this Article, Seller is liable for all of Buyer's costs associated with the noninterchangeable items.”

(Ex. C, Terms and Conditions § 8.)

          31.      Additionally, the Terms and Conditions require Defendants to indemnify Eaton

against losses suffered by Eaton as a result of orders executed under the MPA. (Ex. C, Terms and

Conditions § 13.)

                b. Eaton Instructs Defendants to Manufacture the Levers’ Coined Area As “Full
                   Round” Through Its Print Specifications and Computer-Aided Design Model.

          32.      To ensure the levers functioned properly in the ECA clutches, Eaton supplied

Defendants with written specifications, drawings, and computer models emphasizing that the

hotdog needed to be “full round.”

          33.      The print specification for the part, Print 173C147 Rev AE, provides, amongst other

things:

                      The lever’s coined area must be “full round.”
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                     An instruction to “blend radii” of the lever’s coined area.
                     The lever’s coined area shall have “no sharp corner.”
                     Any radii not specified shall be “.120”.

These requirements defined Angstrom’s obligations under the MPA and Wrena’s obligations

under the POs. In fact, they are the very specifications and drawings Defendants warranted they

would adhere to in the Terms and Conditions.

       34.        Further, Eaton furnished Defendants with a detailed Computer-Aided Design

(“CAD”) model of the lever. Amongst other things, Eaton’s CAD model stated that the radius for

the coined bend should be at least .05” ensuring full roundness:




Between the various instructions in the written specifications and the parameters of the CAD

model, it was clear that the hotdog was to be fully round.

             c.   Eaton Approves Defendants’ Sample Parts Meeting Specifications.

       35.        To qualify as an Eaton supplier, Defendants were required to manufacture and

provide initial sample levers featuring full round coining. This process is called the Production

Part Approval Process (“PPAP”) and it is customary in the automotive and trucking industries to

qualify suppliers and determine if sub-components meet specifications.

       36.        The objective of the PPAP is to provide the end-manufacturer with an opportunity

to efficiently evaluate the parts and fabrication processes of its suppliers prior to the initiation of

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full-scale production. Once the supplier and its processes pass the PPAP, the recipient of the parts

can be reasonably assured that all future shipments will conform to the approved samples, and that

the underlying manufacturing process flow will not be altered without notice. As sophisticated,

long-time suppliers of components in the automotive and trucking industries, Defendants were

well-acquainted with the PPAP, its significance, and their resulting obligations.

       37.       Per the PPAP, Defendants provided Eaton with sample levers along with data about

the levers and a detailed description of their manufacturing processes. Critically, the sample levers

were full round. Eaton analyzed the samples and subjected them to testing, concluding that they

satisfied specifications. Eaton, relying on the samples’ conformance to specifications, approved

the part and authorized full-scale production.

       38.       After that point, according to both industry standard practice and Section 8 of the

Terms and Conditions, Defendants were required to inform Eaton of any changes in the lever’s

dimensions or the processes used to manufacture the same.

       39.       Defendants never provided any such notice.

 II.   DEFENDANTS CUT CORNERS AND MANUFACTURE DEFECTIVE LEVERS.

       40.       Prior to late 2017, Defendants provided Eaton with hundreds of thousands of levers

that apparently met the full round specification.

       41.       Upon information and belief, to manufacture levers meeting the full round

specification, Defendants needed to perform periodic maintenance on their coining equipment,

including frequently sharpening and recalibrating the dies in their machines.

       42.       Upon information and belief, this continual tool maintenance was time-consuming

and expensive.

       43.       Upon information and belief, sometime in late 2016 or early 2017, Defendants

unilaterally decided to change their maintenance practices, which had been to sharpen the die after
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every production run, and instead perform such maintenance less frequently. Defendants failed to

inform Eaton of this material change before implementing it.

        44.     Upon information and belief, Defendants’ secret alterations to the maintenance

procedures were ineffective and counterproductive. The stamping machines, dies, and other tools

needed to create a fully round hotdog degraded over time, becoming increasingly inaccurate.

Consequently, rather than “full round” coining of the hotdog, the levers shipped to Eaton contained

hotdogs with bends that were misshapen, warped, tattered, and jagged. The hotdogs contained

miniature mountain ranges of microscopic peaks and valleys, ill-suited for carrying loads and

susceptible to failure.

        45.     These undisclosed defects were not perceptible to the naked eye without additional

testing, and Eaton continued to use the levers in its clutch assemblies, acting under the erroneous

belief that Defendants were honoring their contractual duties.

        46.     No one from either Angstrom or Wrena gave Eaton any reason to believe

Defendants were failing to honor their contractual duties.

        47.     In February 2018, Australian trucking customers began reporting ECA clutch

failures in the field. Eaton inspected certain malfunctioning ECA clutches under magnification

and found that the levers deviated from specifications.

        48.     On February 5, 2018, Eaton issued a Defective Material Report (“DMR”) for

Defendants’ faulty levers. Eaton re-issued the DMR on May 1, 2018 after additional testing.

        49.     The May 2018 DMR stated that the clutch lever lacked material transition in the

hotdog because the lever’s radii were not blended pursuant to Eaton’s print specifications.

        50.     In response to the DMR, Wrena advised Eaton that it would revise its control plan

(which documents the functional elements of quality control that must be implemented to assure



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quality standards are met) to include inspections of the hotdogs and to test three levers per hour

using a radius gage.

        51.     Eaton still found incorrect levers in shipments from May 27, 2018 despite the

enhanced control plan.

        52.     Eaton continued testing Defendants’ levers and determined levers manufactured

from the period between November 2017 and March 2018 were significantly outside of

specifications. The hotdogs of the defective levers were so shallow and jagged that they failed

after a short period of use.

        53.     Eaton’s analysis concluded that between April 2017 and June 2018, defective levers

were incorporated into approximately 79,102 ECA clutches that Eaton sold.

        54.     Below is a visual comparison of a compliant lever from August 2016 with one of

the defective levers from March 2018. As is clear from these magnifications of the hotdog, the

faulty clutch levers suffered from: (1) jagged edges in violation of the print specifications; (2)

hotdogs that were not “full round” in violation of the print specifications; and (3) radii that were

incorrect and were not blended in violation of the print specifications.




                Coined Area Meeting                    Coined Area NOT Meeting
                Eaton Specifications                      Eaton Specifications




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          55.   ECA clutch field failures grew as an increasing number of defective levers broke

under strain.

          56.   During its analysis and investigation of the failures, Eaton regularly communicated

its findings to Defendants verbally, in writing and in person.          Eaton specifically informed

Defendants in 2018 that the ECA clutch malfunctions were attributable to levers that Defendants

manufactured outside of specifications.

          57.   Upon information and belief, once Eaton discovered the source of the lever failures

in mid-2018 and communicated its conclusions to Defendants, Defendants immediately reinstated

their previous manufacturing and maintenance procedures, which enabled Defendants to once

again produce levers with “full round” hotdogs.

          58.   Eaton attempted to convene various meetings with Defendants to discuss why the

levers failed. Defendants delayed, cancelled, or truncated these meetings. Moreover, despite

repeated good faith requests, Defendants refused to share maintenance records for its tools and

other relevant documentation.

III.      EATON SPENDS MILLIONS ON A FIELD SERVICE CAMPAIGN TO
          REMEDIATE DEFENDANTS’ DEFECTIVE LEVERS.

          59.   Defendants’ faulty levers dramatically impacted Eaton’s business. There are

several outcomes when a sufficient number of levers in any given ECA clutch fail, including, but

not limited to: (1) the clutch can no longer generate the force necessary to disengage the engine

from the drive train; (2) the transmission cannot effectively shift gears while the truck is in motion;

(3) idling trucks might lurch forward unexpectedly; or (4) shrapnel from broken levers can damage

other portions of the clutch and the engine.

          60.   Eaton began repairing or replacing clutches impacted by Defendants’ defective

levers.


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       61.     On December 7, 2018, Eaton initiated a campaign to install software updates to

approximately 79,102 trucks with ECA clutches that were at risk of malfunctioning due to

Defendants’ defective levers. The software update eliminated the risk that a stationary truck could

creep forward while idling.

       62.     On December 12, 2018, Eaton issued a service bulletin identifying fault codes and

clutch release errors caused by broken levers. The service bulletin encouraged drivers to replace

ECA clutches manufactured between April 1, 2017 and June 20, 2018 under the standard warranty

process.

       63.     In December 2019, Eaton commenced a proactive clutch replacement campaign for

all 25,560 clutches made between November 2017 and March 2018.

       64.     Eaton consistently confirmed in its publicly-filed submissions and reports that the

clutch failures were caused by the faulty levers Defendants supplied. For example, in National

Highway Traffic Safety Administration report 18V-931, Eaton offered the following explanation:

“The stamping die for the pressure plate lever was improperly maintained by the stamping supplier,

causing the bend (coin) radius on the stamped pressure plate levers to be out of specification.”

       65.     To date, Eaton has spent tens of millions of dollars fixing problems caused by

Defendants’ breach of their contractual obligations, including both software-installation costs and

hardware repair and replacement expenses. Eaton expects to spend tens of millions more through

the end of 2021, if not longer.

       66.     Furthermore, Eaton has incurred and continues to incur expenses storing the

voluminous clutches it has replaced. Eaton has warehoused the replaced clutches in order to

substantiate its damages and preserve evidence potentially relevant to this case.




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          67.   Defendants deny any responsibility for the lever failures and the damages Eaton

sustained as a result.

                                         COUNT I
                                   BREACH OF CONTRACT
                                   (AGAINST ANGSTROM)

          68.   Eaton hereby re-alleges and incorporates by reference Paragraphs 1-67 of this

Complaint as if fully set forth herein.

          69.   Eaton performed all its obligations and satisfied all conditions precedent under the

MPA.

          70.   The Terms and Conditions incorporated into the MPA require Angstrom to provide

clutch levers that: “(1) Are free from defects in material, workmanship and design, (2) Are of

merchantable quality and fit for Buyer’s purposes, (3) Conform with Buyer’s instructions,

specifications, drawings and data, and (4) Conform to all representations, affirmations, promises,

descriptions, samples, or models provided by Seller to Buyer.” (Ex. C, Terms and Conditions

§7.1.)

          71.   The Terms and Conditions also provide that Angstrom must indemnify Eaton

against any losses related to Eaton’s purchase of products from Defendants. (Ex. C, Terms and

Conditions § 13.)

          72.   Angstrom supplied defective levers to Eaton that: (a) were not “full round”; (b)

were improperly coined; (c) contained jagged edges and sharp corners; (d) did not have a sufficient

minimum coining radius or appropriately blended radii; (e) could not pass the required testing

protocols; (f) did not conform to the CAD model provided by Eaton; (g) did not conform to the

PPAP samples submitted by Defendants; (h) broke and otherwise failed at high rates in the field;

and (i) caused damage to ECA clutches, engines, and other truck parts.



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        73.       Angstrom therefore breached the MPA because it:

                 Did not provide clutch levers that were free from defect in material and
                  workmanship;
                 Did not provide clutch levers of merchantable quality for Eaton’s purposes;
                 Did not conform with Eaton’s instructions, specifications, or drawings; and
                 Did not conform to Defendants’ own samples and representations.

        74.       Angstrom further breached the Terms and Conditions by altering the lever designs,

manufacturing processes, and maintenance procedures without Eaton’s prior written consent.

        75.       Moreover, Angstrom is obligated to indemnify Eaton for the losses it has suffered

to date and any that it will incur in the future relating to the defective levers.

        76.       As a result of the lever defects, Eaton was forced to spend tens of millions of dollars

replacing or repairing faulty clutches and installing software.

        77.       As a direct and proximate result of Angstrom’s failure to meet the enumerated

requirements of the MPA, Eaton sustained damages including but not limited to the following:

1) expenditures to replace or repair the failed ECA clutches and install remedial software; 2)

expenditures to investigate the clutch lever problems; 3) loss of revenues, sales, and profits; 4)

harm to Eaton’s business reputation; 5) diminished goodwill among purchasers and potential

purchasers of Eaton’s ECA clutches; 6) loss of customers; 7) attorneys’ fees and costs; 8) labor

and storage costs associated with maintaining failed ECA clutches; and 9) other losses arising from

Defendants’ breach not otherwise specified herein.

                                           COUNT II
                                     BREACH OF CONTRACT
                                       (AGAINST WRENA)

        78.       Eaton hereby re-alleges and incorporates by reference Paragraphs 1-77 of this

Complaint as if fully set forth herein.

        79.       For each lot of levers, Eaton and Wrena entered into a PO.


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          80.       All sales of levers were made pursuant to such a PO. Each PO incorporated Eaton’s

Term and Conditions by reference.

          81.       Eaton performed all its obligations and satisfied all conditions precedent under each

PO.

          82.       The Terms and Conditions incorporated into the POs require Wrena to provide

clutch levers that: “(1) Are free from defects in material, workmanship and design, (2) Are of

merchantable quality and fit for Buyer's purposes, (3) Conform with Buyer's instructions,

specifications, drawings and data, and (4) Conform to all representations, affirmations, promises,

descriptions, samples, or models provided by Seller to Buyer.” (Ex. C, Terms and Conditions

§7.1.)

          83.       The Terms and Conditions also provide that Wrena must indemnify Eaton against

any losses related to Eaton’s purchase of products from Defendants. (Ex. C, Terms and Conditions

§ 13.)

          84.       Wrena supplied defective levers to Eaton that: (a) were not “full round”; (b) were

improperly coined; (c) contained jagged edges and sharp corners; (d) did not have a sufficient

minimum coining radius or appropriately blended radii; (e) could not pass the required testing

protocols; (f) did not conform to the CAD model provided by Eaton; (g) did not conform to the

PPAP samples submitted by Defendants; (h) broke and otherwise failed at high rates in the field;

and (i) caused damage to ECA clutches, engines, and other truck parts.

          85.       Wrena therefore breached the POs because it:

                   Did not provide clutch levers that were free from defect in material and
                    workmanship;
                   Did not provide clutch levers of merchantable quality for Eaton’s purposes;
                   Did not conform with Eaton’s instructions, specifications, or drawings; and
                   Did not conform to Defendants’ own samples and representations.


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        86.     Wrena further breached the Terms and Conditions by making alterations to the

lever designs, manufacturing processes, and maintenance procedures without Eaton’s prior written

consent.

        87.     Moreover, Wrena is obligated to indemnify Eaton for the losses it has suffered to

date and any that it will incur in the future relating to the defective levers.

        88.     As a result of the lever defects, Eaton was forced to spend tens of millions of dollars

replacing or repairing faulty clutches and installing software.

        89.     As a direct and proximate result of Wrena’s failure to meet the enumerated

requirements of the POs, Eaton sustained damages including but not limited to the following: 1)

expenditures to replace or repair the failed ECA clutches and install remedial software; 2)

expenditures to investigate the clutch lever problems; 3) loss of revenues, sales, and profits; 4)

harm to Eaton’s business reputation; 5) diminished goodwill among purchasers and potential

purchasers of Eaton’s ECA clutches; 6) loss of customers; 7) attorneys’ fees and costs; 8) labor

and storage costs associated with maintaining failed ECA clutches; and 9) other losses arising from

Defendants’ breach not otherwise specified herein.

                                   COUNT III
                   BREACH OF EXPRESS WARRANTY, O.R.C. § 1302.26
                           (AGAINST ALL DEFENDANTS)

        90.     Eaton hereby re-alleges and incorporates by reference Paragraphs 1-89 of this

Complaint as if fully set forth herein.

        91.     All sales of levers were made pursuant to the MPA, the POs, and the incorporated

Terms and Conditions.

        92.     In the Terms and Conditions, Defendants expressly warranted that the clutch levers:

“(1) Are free from defects in material, workmanship and design, (2) Are of merchantable quality



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and fit for Buyer’s purposes, (3) Conform with Buyer’s instructions, specifications, drawings and

data, and (4) Conform to all representations, affirmations, promises, descriptions, samples, or

models provided by Seller to Buyer.” (Ex. C, Terms and Conditions §7.1.)

       93.     Contrary to these express warranties, Defendants’ levers: (1) did not conform to

Eaton’s specifications and drawings because, amongst other things, they were not “full round” and

instead contained jagged edges; (2) did not conform to the CAD model provided by Eaton because,

amongst other things, they did not have sufficient radii or blended radii; (3) did not conform to the

samples provided by Defendants themselves during the PPAP process because, amongst other

things, they were not “full round” and instead contained jagged edges and insufficient radii; (4)

were not of a merchantable quality because, amongst other things, they failed in the field and

caused damage to ECA clutches, engines, and other truck parts; (5) were not free from defects;

and (6) otherwise violated the express warranties.

       94.     As a direct and proximate result, Eaton sustained damages including, but not

limited to, the following: 1) expenditures to replace or repair the failed ECA clutches and install

remedial software; 2) expenditures to investigate the clutch lever problems; 3) loss of revenues,

sales, and profits; 4) harm to Eaton’s business reputation; 5) diminished goodwill among

purchasers and potential purchasers of Eaton’s ECA clutches; 6) loss of customers; 7) attorneys’

fees and costs; 8) labor and storage costs associated with maintaining failed ECA clutches; and 9)

other losses arising from Defendants’ breach not otherwise specified herein.

                             COUNT IV
   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY, O.R.C. § 1302.27
                     (AGAINST ALL DEFENDANTS)

       95.     Eaton hereby re-alleges and incorporates by reference Paragraphs 1-94 of this

Complaint as if fully set forth herein.



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        96.     Eaton is a “buyer” as that term is defined by § 1302.01(A)(1) of the Ohio Revised

Code.

        97.     Defendants are “sellers” as that term is defined by § 1302.01(A)(4) of the Ohio

Revised Code.

        98.     Angstrom, Wrena, and Eaton are “merchants” as that term is defined by

§ 1302.01(A)(5) of the Ohio Revised Code.

        99.     Defendants impliedly warranted to Eaton that the clutch levers supplied would be

merchantable under § 1302.27 of the Ohio Revised Code.

        100.    By supplying Eaton with defective and/or non-conforming clutch levers that,

amongst other things, were not “full round” and failed in the field, Defendants breached their

implied warranty that the goods would be merchantable under § 1302.27 of the Ohio Revised

Code.

        101.    As a direct and proximate result, Eaton sustained damages including, but not

limited to, the following: 1) expenditures to replace or repair the failed ECA clutches and install

remedial software; 2) expenditures to investigate the clutch lever problems; 3) loss of revenues,

sales, and profits; 4) harm to Eaton’s business reputation; 5) diminished goodwill among

purchasers and potential purchasers of Eaton’s ECA clutches; 6) loss of customers; 7) attorneys’

fees and costs; 8) labor and storage costs associated with maintaining failed ECA clutches; and 9)

other losses arising from Defendants’ breach not otherwise specified herein.

                           COUNT V
BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE,
                         O.R.C. § 1302.28
                   (AGAINST ALL DEFENDANTS)

        102.    Eaton hereby re-alleges and incorporates by reference Paragraphs 1-101 of this

Complaint as if fully set forth herein.

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        103.    Eaton is a “buyer” as that term is defined by § 1302.01(A)(1) of the Ohio Revised

Code.

        104.    Defendants are “sellers” as that term is defined by § 1302.01(A)(4) of the Ohio

Revised Code.

        105.    Angstrom, Wrena, and Eaton are “merchants” as that term is defined by

§ 1302.01(A)(5) of the Ohio Revised Code.

        106.    Defendants impliedly warranted to Eaton that the clutch levers supplied would be

fit for their particular purpose—inclusion in as a defect-free critical component of the ECA

clutch— under § 1302.28 of the Ohio Revised Code. As experienced suppliers of automotive and

trucking parts who maintained regular contact with Eaton and others in the industry, Defendants

knew that their levers would be incorporated into Eaton’s ECA clutches.

        107.    By supplying Eaton with defective and/or non-conforming clutch levers that,

amongst other things, were not “full round” and failed in the field, Defendants breached their

implied warranty of fitness for a particular purpose under § 1302.28 of the Ohio Revised Code.

        108.    As a direct and proximate result, Eaton sustained damages including but not limited

to the following: 1) expenditures to replace or repair the failed ECA clutches and install remedial

software; 2) expenditures to investigate the clutch lever problems; 3) loss of revenues, sales, and

profits; 4) harm to Eaton’s business reputation; 5) diminished goodwill among purchasers and

potential purchasers of Eaton’s ECA clutches; 6) loss of customers; 7) attorneys’ fees and costs;

8) labor and storage costs associated with maintaining failed ECA clutches; and 9) other losses

arising from Defendants’ breach not otherwise specified herein.




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        WHEREFORE, Eaton prays that the Court award it:

        1. Damages in an amount to be determined at trial, but in no event less than or equal to

            $75,000 exclusive of costs and interests;

        2. Reasonable attorneys’ fees, interest, and costs;

        3. Any other relief the Court deems just and equitable.




                                        JURY DEMAND

        Plaintiff Eaton Corporation demands a jury trial on all claims, counterclaims, defenses, and

other issues so triable.

                                             Date: April 24, 2020          Respectfully submitted,




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                                  /s/ Joseph A. Castrodale

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